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                                 UNITED STATES DISTR ICT CO URT
                                 SOUTH ER N DISTR ICT OF FLORIDA
                                   FOR T LAUDERDA LE D IW SION

                        Case N o.16-62942-CIV-DIM lTRO ULEA S /SN OW

    KERRY ROTH ,on behalt of herself and all'
    otherssim ilarly situated,

           Plaintiftl
    VS.

    GEICO GENER AL W SU RAN CE
    COM PANY ;

           Defendants.

                                      OR DER A ND JUDG M ENT

          This CourthasconsideredtheParties'JointRequestforEntry ofJudgm ent,and Plaintiff's

    Request for D eterm ination of Entitlem ent to Attorneys' Fees, Costs, and Expenses, and a

    Representative PlaintiffService Award,and entersthe following Orderand Judgm ent.

           W HEREA S this Court on M ay 4, 2018 entered an Order pursuant to Fed.R.Civ.P.

    23(c)(1)certifyingthePlaintiff'sproposed classofFloridatirst-partytotallossleasedvehicle
    insuredsw hose totallossesoccurred during the period August31,2011through A ugust31,2016

    (DE 165);
           W HEREA S this Courton M ay 18,2018 entered an Order pursuantto Fed.R.Civ.P.

    23(B)(i)-(vii)approvingtheform andmethodofNoticetoClassMembers(DE 211);
           W HEREASClassNoticewasmadeonJune1,2018pursuanttoFed.R.Civ.P.23(c)(2)(B)
    andinaccordancewiththeCourt'sM ayl8,2018Order(DE 234);


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            W HEREA S this'courton June 14,2018 entered an Ordergranting Sum m ary Judgm entin

    favorofPlaintiffastoPlaintiffsbreachofcontractclaims(DE247);
            W HEREASDefendanttiledaMotiontoDecertifytheClass(DE 255)onAugust27,2018;
            W HEREASPlaintifffiledanOppositiontoDefendant'sM otiontoDecertifytheClass(DE
    259)onSeptember4,2018,andfiledaRequestforEntryofJudgment(DE 262)onSeptember7,
    2018;

            W HEREA S Defendantfiled an Opposition to Plaintiff's Request for Entry of Judgm ent

    (DE265)onSeptember17,20189
            W HEREAS, the Court denied the M otion to Decertify the Class, and denied w ithout

    prejudicePlaintiffsRequestforEntryofJudgment(DE 267);
            W HEREAS,the Courtheld Sçthata sim pleback-and-forth processtovetthefinallistofclass

    m em bers and their dam ages amounts is notoverly burdensome and willresultin a finalproposed

   judgmentsuitableforentry bytheCourti''andreferredthemattertothemagistratejudgetosupervise
    suchprocess.(DE 267at3;DE 269)
            W HEREA S,M agistrate Snow hassupervised the process,the parties have provided progress

    reportstoMagistrateSnow relatingtoprogress,andthepartieshavesubmitted aproposedjudgment.
            NOW THEREFORE,theCourtentersjudgmentpursuanttoFed.R.Civ.P.23(c)(3)(B)in
    favorofPlaintiffand the Classand againstD efendantGEICO GeneralInsurance Com pany in the
                                                                 1
    amountof$5,870,893.32indamagesandprejudgmentinterest.TheCertifiedClassconsistsof:
            A l1 persons insured by Defendant under a Florida insurance policy for private
            passengerauto((TPA'')physicaldamagewhosufferedafirst-partytotallossofa
            covered leased yehicle atany time during the 5 yearspriorto the filing ofthis
            lawsuit,whoseclaim wasadjustedbyDefendantasatotallossclaim,whoseclaim
            resulted in paym entby D efendantofa covered claim ,and who wasnotpaid thefull
            totallossvehiclevalue(ECTLVV d()salestaxortitletransferfees.



     1 See attached Sum m ary.
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    (seeDE 165.
              ) TheCer
                     'tifiedClassincludesthose3,302personstowhom noticewasdirectedand
   w ho did notrequestto be excluded from the Certified Class,and w ho are identified in ExhibitA

    totheParties'JointRequestforEntryofJudgment.(DE 277-1q. Thisjudgmentexcludesanddoes
    notbind any personsbeyond the3,302 personsidentified in ExhibitA .
          The CourtORDERS Defendantto issue paym ents to class mem bers in accordance w ith

    dam agesallocationssetforth in ExhibitA to theParties'JointRequestforEntry ofJudgm ent.

           The CourtO RDERS thatPlaintiff shallfile any M otion forA ttorneys'Fees,Costs,and

    Expensespursuantto S.D.Fla.L.R.7.3,Fla.Stat.j627.428,andotherapplicable1aw withinsixty
    (60)daysofanyFinalJudgmentinthiscasebeingenteredastotheforthcoming Supplemental
    Notice Class.

           The CourtORDER S thatPlaintiff shallfile any M otion for Service Aw ard within sixty

    (60)daysofanyFinalJudgment.
           The CourtORD ERS thatthis is a Judgm ent,but it is notthe FinalJudgm ent because

    Supplem entalN otice isbeing provided to additionalpotentialclassm em bers.

           TheCourtretainsjurisdictionoverDefendant'scompliancewiththisOrderandJudgment.
           IT IS SO ORDERED .                           .                            3              r h


    Dated:     0U.         ; /                -
                                                  ;                       '
                          C                    W lliam P. Dim itrouleas
                                               United StatesD istrictJudge
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                                 SUM M ARY

                                                               Total
 Counts                                                        3302
 SalesTax Underpaym ent                                 4,743,446.91
 Title Underpayment                                       248,475.50
 Interestthrough11/16/18                                  886,337.54
 TotalDamagesexclusive offees,
 expenses,and serviceaward                              5,878,259.95
